       Case 5:25-cv-00097-MTT       Document 1      Filed 03/11/25    Page 1 of 33




                     IN THE UNITED STATES DISCTRICT COURT
                          MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

 GAYLORD HAROLD WINGE, JR., as
 Administrator of the Estate of GAYLORD
 HARDOL WINGE, III. Deceased, and
 ROMINA ESPINA RIVA, as Surviving                    Civil Action No. ___________
 Spouse and Next Kin of GAYLORD
 HAROLD WINGE, III, Deceased,
                                                      JURY TRIAL DEMANDED
       Plaintiffs,

 v.

 UNITED STATES OF AMERICA d/b/a
 CARL VINSON VETERANS
 ADMINISTRATION MEDICAL
 CENTER,

       Defendant.

  COMPLAINT FOR PERSONAL INJURIES, DAMAGES AND WRONGFUL DEATH

       COME NOW Plaintiffs, GAYLORD HAROLD WINGE, JR., as Administrator of the

Estate of GAYLORD HARDOL WINGE, III, Deceased, and ROMINA ESPINA RIVA, as

Surviving Spouse and Next Kin of GAYLORD HAROLD WINGE, III, Deceased, and file this

Complaint for Personal Injuries, Damages and Wrongful Death, respectfully showing the Court

the following:

                             PARTIES and JURISDICTION

                                            1.

       Plaintiff GAYLORD HAROLD WINGE, JR. is the Administrator of The Estate of

GAYLORD HAROLD WINGE, having been duly appointed by the Probate Court of Houston

County on March 11, 2025 and issued Letters of Administration (see Exhibit A). Plaintiff

GAYLORD HAROLD WINGE, JR. is a resident of Houston County, Georgia.



                                                                                Page 1 of 7
         Case 5:25-cv-00097-MTT          Document 1         Filed 03/11/25   Page 2 of 33




                                                 2.

         Plaintiff ROMINA ESPINA RIVA is the surviving spouse of GAYLORD HAROLD

WINGE, III, deceased, and is a resident of Davoa City, Philippines.

                                                 3.

         The claims in this Complaint are brough pursuant to the Federal Tort Claims Act, 28 U.S.C.

§ 1346(b), 2671-2680.

                                                 4.

         The acts or omissions that are the subject of this action occurred at the Carl Vinson VA

Medical Center in Dublin, Georgia.

                                                 5.

         Plaintiffs presented their claims to the United States Department of Veterans Affairs, an

agency of the United States of America, on October 18, 2023. The U.S. Department of Veterans

Affairs denied the claim on October 1, 2024. The denial is attached hereto as Exhibit B.

                                                 6.

         The amount in controversy exceeds $75,000.00, the minimum jurisdictional limit of this

Court.

                                                 7.

         Venue and jurisdiction are proper in this Court.

                                   FACTUAL ALLEGATIONS

                                                 8.

         Gaylord Harold Winge, III was 56 years of age at the time he presented to Carl Vinson

VAMC in Dublin, Georgia on March 24, 2023 for an MRI with and without contrast. Mr. Winge’s

medical history included: hypertension, dyslipidemia, Type 2 diabetes mellitus, diabetic



                                                                                       Page 2 of 7
       Case 5:25-cv-00097-MTT           Document 1        Filed 03/11/25      Page 3 of 33




retinopathy, congestive heart failure, varicose veins, and diabetic foot ulcer. Mr. Winge also had

a documented allergy to Iodinated Contrast Media with nausea, vomiting, and edema dating back

to at least July 27, 2011 according to the Carl Vinson VAMC records. The drug class included:

diagnostic agents, radiological/contrast media, radiopharmaceuticals, diagnostic, non-ionic

contrast media, ionic contrast media, imaging agents (in vivo) radiopharmaceuticals, non-imaging

agents radiopharmaceuticals, contrast media, other.

                                                 9.

       On March 24, 2023, Mr. Winge underwent an MRI with and without IV contrast of his

right foot. The MRI was ordered by Osealuka G. Enendu, MD, due to poor healing of Mr. Winge’s

diabetic ulcer. The radiology report written by Barry Parker, MD from this date indicates Mr.

Winge has no allergies and that the contrast media used for the MRI study was Gadolinium.

                                                10.

       The precontrast images were obtained and Mr. Winge received 17 ml of Multihance via

injection. Before the postcontrast scanning could commence, Mr. Winge became nauseated and

vomited. After receiving a sip of water, he reported feeling “tingly.” The radiology nurse was

called to evaluate Mr. Winge, and he became unresponsive and without pulse or respiration. CPR

was initiated and a code called. The code was run by Dr. Enendu, Mr. Winge’s treating physician.

911 was called and Mr. Winge was transported from the MR trailer to Fairview Park Hospital for

further care and treatment.

                                                11.

       The MRI was subsequently interpreted by Dr. Barry Parker, Staff Physician, who noted in

his Impression: “It is not clear at this point if the patient had a true anaphylactic reaction to the

MR contrast or simply vomiting with subsequent cardiopulmonary arrest.”



                                                                                         Page 3 of 7
       Case 5:25-cv-00097-MTT          Document 1       Filed 03/11/25      Page 4 of 33




                                               12.

       At Fairview Park Hospital it was determined Mr. Winge had severe anoxic encephalopathy

and anaphylactic shock secondary to MRI dye causing cardiac arrest. Mr. Winge remained

unresponsive and due to his “grim” prognosis, his family requested hospice care at the Carl Vinson

VAMC. He was transferred back to Carl Vinson VAMC on March 31, and passed away two days

later on April 2, 2023.


                                               13.

       At all relevant times, Defendant owed certain civil duties to GAYLORD HAROLD

WINGE, III. Defendant violated those duties in the following particulars:

   a. failing to note Mr. Winge’s known allergy to Iodine and Iodinated Contrast Media and

       allowing the injection of Gadolinium without premedicating Mr. Winge or having

       appropriate protocols in place in the event the patient experienced a foreseeable allergic

       reaction; and

   b. in committing other negligent acts and omissions as may be shown by the evidence and

       proven at trial.

                                               14.

       The violations of the standard of care by the radiology team at Carl Vinson VAMC, within

reasonable medical probability, resulted in Mr. Winge receiving Gadolinium contrast, which

caused an anaphylactic reaction leading to cardiac arrest with secondary severe anoxic

encephalopathy and, ultimately, Mr. Winge’s death on April 2, 2023.

                                               15.

       Pursuant to O.C.G.A. § 9-11-9.1, Plaintiffs attach as Exhibit C to this Complaint the

Affidavit and curriculum vitae of Neel Dewan Gupta, MD, who is qualified to testify as an expert


                                                                                      Page 4 of 7
       Case 5:25-cv-00097-MTT            Document 1        Filed 03/11/25      Page 5 of 33




in this case. Said affidavit sets forth at least one negligent act or omission related to the care and

treatment of Gaylord Harold Winge, III by Defendant’s radiology team, including, but not limited

to, Dr. Barry Parker, Staff Physician, the radiology technologist, and the radiology nurse, whose

acts and/or omissions directly and proximately caused and/or contributed to the injuries and death

of Mr. Winge.

                                                 16.

       Pursuant to O.C.G.A. § 9-11-9.1, Plaintiffs attach as Exhibit D to this Complaint the

Affidavit and curriculum vitae of Chaundria Singleton RT (R)(CT)(MR), who is qualified to testify

as an expert in this case. Said affidavit sets forth at least one negligent act or omission related to

the care and treatment of Gaylord Harold Winge, III by Defendant’s radiology team, including,

but not limited to, the radiology technologists, whose acts and/or omissions directly and

proximately caused and/or contributed to the injuries and death of Mr. Winge.



                                            DAMAGES

                                                 17.

       As a proximate result of the negligence of the radiology team and personnel at Carl Vinson

VAMC, Gaylord Winge, III sustained injuries resulting in great physical, mental, and emotional

pain and suffering and death. Plaintiffs show that decedent’s Estate has incurred expenses in the

nature of funeral and burial expenses due to Defendants’ negligence.

                                                 18.

       Defendant’s negligence proximately caused the wrongful death of Gaylord Winge, III, the

measure of damages of which is the full value of the life of Gaylord Winge, III.




                                                                                          Page 5 of 7
         Case 5:25-cv-00097-MTT          Document 1       Filed 03/11/25      Page 6 of 33




                                                 19.

         Gaylord Winge, III was born on August 3, 1966 and was 56 years old at the time of his

death.

                                                 20.

         Gaylord Winge, III, Deceased, is survived by his spouse, Romina Riva, who now brings

this wrongful death claim.

                                                 21.

         Defendant United States of America is vicariously liable for the negligence of Carl Vinson

VAMC and its medical staff, including, but not limited to, Barry Parker, MD, the radiology

technologist, and the radiology nurse, under the limited waiver of sovereign immunity pursuant to

the Federal Tort Claims Act for torts committed by said individuals in the course and scope of

their employment by the Carl Vinson VAMC, an agency of the United States government.

         WHEREFORE, Plaintiffs respectfully demand:

         a.     That summons be issued requiring Defendant to be served as provided by law and

                requiring Defendant to answer this Complaint;

         b.     That Plaintiffs have a trial by a fair and impartial jury of twelve (12) members;

         c.     That Plaintiff Gaylord Harold Winge, Jr., as Temporary Administrator of the Estate

                of Gaylord Harold Winge, III, Deceased, have judgment against and recover from

                Defendant a sum in excess of $75,000.00 for the medical, funeral and burial

                expenses of Gaylord Harold Winge, III which were incurred as a result of the

                negligence of Defendant and/or the agents, servants and employees of Defendant;

         d.     That Plaintiff Gaylord Harold Winge, Jr., as Temporary Administrator of the Estate

                of Gaylord Harold Winge, III, Deceased, have judgment against and recover of



                                                                                         Page 6 of 7
      Case 5:25-cv-00097-MTT          Document 1        Filed 03/11/25       Page 7 of 33




             Defendant a sum in excess of $75,000.00 for Gaylord Harold Winge, III’s pain and

             suffering, both mental and physical, incurred as a result of the negligence of

             Defendant and/or the agents, servants and employees of Defendant;

      e.     That Plaintiff Romina Espina Riva, as Surviving Spouse and Next Kin of Gaylord

             Harold Winge, III, Deceased, have judgment against and recover from Defendant

             a sum in excess of $75,000.00 for the full value of Mr. Winge’s life, pursuant to

             O.C.G.A. § 51-4-1 et seq.;

      f.     That Plaintiffs recover the costs of Court; and

      g.     That Plaintiffs receive such other and further relief as this Court shall deem just and

             equitable.

      This 11th of March, 2025.


                                            /s/ Jessica A. Edmonds
                                            KATHERINE L. MCARTHUR
                                            Ga. Bar No. 480730
                                            CALEB F. WALKER
                                            Ga. Bar No. 431765
                                            JESSICA A. EDMONDS
                                            Ga. Bar No. 675784
MCARTHUR LAW FIRM
6055 Lakeside Commons, Suite 400
Macon, Georgia 31210
(478) 238-6600 – Telephone
(478) 238-6607 – Facsimile
kmcarthur@mcarthurlawfirm.com
jedmonds@mcarthurlawfirm.com
Attorneys for Plaintiffs




                                                                                        Page 7 of 7
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 8 of 33




                                                               A
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 9 of 33
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 10 of 33
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 11 of 33




                                                                       B
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 12 of 33




                                                                       C
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 13 of 33
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 14 of 33
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 15 of 33
   Case 5:25-cv-00097-MTT                 Document 1          Filed 03/11/25         Page 16 of 33




                                  NEEL DEWAN GUPTA M.D.
                                       3128 Nashville Avenue
                                   New Orleans, Louisiana 70125
                                          (504) 701-5561
                             ngupta.rad@gmail.com/ngupta@tulane.edu

WORK EXPERIENCE

Tulane University Health Sciences Center                                                New Orleans, LA
Department of Radiology                                                                       11/1/2021
Assistant Clinical Professor

Reliant Radiology, LLC                                                                      Metairie, LA
Diagnostic Imaging Services (DIS)                                                        09/2013-present
(Special interest in Musculoskeletal, PET/CT, spine, and women’s imaging)

Locums coverage: Northlake Radiology Consultants (NLR)/Access Radiology                      Slidell, LA
(Slidell Memorial Hospital, Southern Surgical Hospital, Highland Community Hospital, NOEH) 08/2012-present

EDUCATION

Tulane University                                                                       New Orleans LA
A.B Freeman School of Business                                                                  01/2022
Master of Business Administration (MBA) Candidate

University of California San Diego (UCSD)                                                 San Diego, CA
Musculoskeletal Radiology Fellowship                                                     07/2011-06/2012
(skilled in diagnostic and interventional Musculoskeletal ultrasound,
small and large joint arthrography/steroid injections, Musculoskeletal and Spine MRI)

Tulane University Health Sciences Center                                                New Orleans, LA
Radiology Residency                                                                     07/2007-06/2011

Tulane University Health Sciences Center                                                New Orleans, LA
Preliminary Medicine Internship                                                          07/2006-06/2007

Tulane University Medical School                                                        New Orleans, LA
Baylor College of Medicine                                                               Houston, Texas
M.D.                                                                                     08/2002-05/2006

Paul Tulane College                                                                     New Orleans, LA
Tulane University                                                                               05/2002
Bachelor of Arts and Sciences
Major: Cellular and Molecular Biology
Cumulative GPA: 3.978, valedictorian

A. B. Freeman School of Business, Tulane University                                     New Orleans, LA
Minor: Business                                                                                 05/2002
   Case 5:25-cv-00097-MTT           Document 1        Filed 03/11/25      Page 17 of 33



BOARDS

Physics Boards (passed 09/2009)
Radiology Written Boards (passed 09/2010)
Oral Boards (passed 05/2011) ABR BOARD CERTIFIED; (2021) ABR BOARD
RECERTIFIED


STATE MEDICAL LICENSES

Active: Louisiana, Mississippi, Florida, North Carolina, Texas
Dormant: California

HONORS
Post-Residency:
Society for Advanced Body Imaging (2022-present)
Society of Skeletal Radiology (SSR) (2012-present)
American Cancer Society Real Men Wear Pink (RMWP) Campaign Member 2020
Residency:
Owl Club Award, Outstanding Resident, 2009-2010, 2010-2011
Roentgen Resident/Fellow Research Award 2010
Medical School:
Jack Arons Scholarship Recipient, 08/2002-05/2006
Tulane Medical School Creative Premedical Scholar Recipient, 08/2002-05/2006
Co-founder of Orthopedic Surgical Society at Tulane Medical School, Co-President, 2004-present
Undergraduate:
Phi Beta Kappa, National Honor Society
William Wallace Peery Society Finalist (top three Tulane College graduates), 05/2002
Summa Cum Laude, 05/2002
Dean’s Honor Scholarship Recipient, 08/1998-05/2002
Co-Founder of Habitat for Humanity Chapters at Tulane University (1999) and Ben Franklin
High School (1997)
Omicron Delta Kappa, National Leadership Honor Society 2000-present


PUBLICATIONS

Ta Mitchell, Do Triet, Yu Amy, Gupta J, Gupta ND, Palacios, E. "Mucoepidermoid Carcinoma
of the Hard Palate in Middle-Aged Man” Ear Nose and Throat Journal. 2022 August 11.

Ta Mitchell, Rashad A, Gupta ND, Nguyen J. “Growing Soft Tissue Mass Within the Right
Groin of a Young Male Patient” J La State Med Soc. 2022 Summer: 174 (1):8-9.

Ball J, Gupta J, Gupta N, Nguyen J. “Acute Onset of Hoarseness of Voice in a Middle Aged
Male Patient” J La State Med Soc. 2021 Winter: 173(3):18-19.

Gupta N, “Decision Support in Medicine: Imaging” Co-Editor and Co-Author, Electronic
Textbook that serves as a reference guide, tool to assist primary care physicians in
ordering/utilizing imaging studies. 2014-2017.
   Case 5:25-cv-00097-MTT            Document 1        Filed 03/11/25       Page 18 of 33



Malone C, Gupta ND, Palacios E, Neitzschman HR. “Idiopathic CD4 Lymphocytopenia” J La
State Med Soc. 2017 May-Jun;169(3):85-87.

Stark C, Gupta ND, Serou M, Neitzschman H. Radiology Case of the Month: Persistent Lateral
Foot Pain. J La State Med Soc. 2016 Sep-Oct;168(5):182-183.

Starks C, Gupta ND, Serou M, Neitzschman HR. “Persistent Lateral Foot Pain: Os peroneum
pain syndrome” J La State Med Soc. 2012 Jul-Aug;164(4):225-6.

Miller D, Gupta ND, Palacios E, Neitzschman HR. “Radiology case of the month. An Unusual
Cause of Hemorrhage with Rapid Deterioration” J La State Med Soc. 2011 Sep-Oct;163(5):286-
9.

Adams A, Wright MJ, Johnston S, Tandon R, Gupta ND. “The Use of Multislice CT
Angiography Preoperative Study for Supraclavicular Artery Island Flap Harvesting.” Annals of
Plastic Surgery. 2011 August 5.

Gupta ND, Lopater Z, Palacios E, Neitzschman HR. “Radiology case of the month.
Generalized Weakness and Fatigue” J La State Med Soc. 2010 Jan-Feb;162(1):15-6, 18, 20.

Omar L, Schiao R, Gupta ND, Palacios E, Neitzschman HR. “Radiology case of the month.
Immunocompromised with Puffy Cheeks” J La State Med Soc. 2009 Nov-Dec;161(6):313-4, 316.

Johnson J, Gupta ND, Palacios E, Neitzschman HR. “Radiology case of the month. Pulsatile
Head Mass” J La State Med Soc. 2009 Sep-Oct;161(5):256, 258-9.

Gupta N, Palacios E, Barry S. “Unilateral submandibular gland aplasia: a rare
phenomenon.” Ear Nose Throat J. 2009 Mar;88(3):818-20.

Johnson J, Gupta ND, Palacios E, Neitzschman HR. “Radiology case of the month.
Persistent headaches: Sinus mycetoma.” J La State Med Soc. 2008 Sep-
Oct;160(5):255-7.

Palacios E, Smith A, Gupta N. “Laryngeal Sarcoidosis” Ear Nose Throat J. 2008
May;87(5):252, 254.

Marshall R, Gupta ND, Palacios E, Neitzschman HR. “Progressive paresthesia and
weakness after intrathecal chemotherapy.”J La State Med Soc. 2008 Mar-
Apr;160(2):92-4.

Scales JS, Gupta ND, Palacios E, Neitzschman HR. “Radiology case of the month.
Neck pain after motor vehicle accident. Cervical acceleration-deceleration injury
(Whiplash) resulting in muscle sprain best seen in MR examination. J La State Med
Soc. 2007 Nov-Dec;159(6):305-6.

Gupta ND, Nguyen Q, Palacios E, Palliyath S, Neitzschman HR. “Radiology case of the
month. Acute left thigh pain and weakness. Diabetic amyotrophy.” J La State Med
Soc. 2007 May-Jun;159(3):126, 128, 130.

Gupta ND, Saeed M, Neitzschman HR. “Radiology case of the month. Developmental
delay. Agenesis of the corpus callosum.”J La State Med Soc. 2007 Jan-Feb;159(1):8,
      Case 5:25-cv-00097-MTT          Document 1         Filed 03/11/25       Page 19 of 33



10.

Lang EK, Gupta N, Davis R, Macchia R. “Diagnosis of recurrent renal cell carcinoma
following segmental and laparoscopic resection of multiphase spiral computerized
tomography.” J Urol. 2006 Apr;175(4):1503.

Lang EK, Gupta N, Thomas R. “Recurrent renal cell carcinoma after laparoscopic
resection.” J Urol. 2006 Jan;175(1):315.

Weiner GM, Battacharjee M, Gupta ND, Ware ML. “Remission of cerebral amyloid angiopathy
and granulomatous angitis after low dose treatment with cyclophosphamide and dexamethasone”
Surgical Neurology (submitted) 2009


PRESENTATIONS

Palacios E, Gomez J, Nguyen J, Gupta N “Visual Pathways from the Cornea to the Visual
Cortex: Pictorial and Pathological Review” Radiological Society of North America (RSNA) 2012
conference paper

Gupta, ND, Gupta JD, Palacios E “Anatomical and Imaging Review of Head and Neck
Plexiform Neurofibromas and Their Association with Neurofibromatosis 1” American Society of
Neuroradiology (ASNR) 2009 electronic exhibit

Gupta, JD, Gupta ND, Palacios E “Endolymphatic Sac Abnormalities: A comprehensive
overview of pathological processes, clinical correlates, and imaging findings of lesions involving
the endolymphatic sac" American Society of Head and Neck Radiology (ASHNR) 2009
educational poster

Gupta, ND, Gupta JD, Faruqui S, Garza L, Palacios, E “Case Review: A comprehensive
retrospective case review of 6 unusual cases of retropharyngeal abscesses complicated with
cervical discitis, osteomyelitis, and epidural abscesses noted in post-Hurricane Katrina New
Orleans” American Society of Head and Neck Radiology (ASHNR) 2009 Oral Presentation

Gupta ND, Gupta JD, Palacios E “Inner Ear Pathology: A Comprehensive Imaging Overview of
Pathological Processes Affecting the Bony and Membranous Labyrinth” American Roentgen Ray
Society (ARRS) 2010 electronic exhibit.

Gupta ND, Gupta JD, Palacios E Neurofibromatosis 1 and 2 Revisited: A comprehensive yet
concise imaging overview of the dominant imaging findings of NF-1 and 2 as demonstrated by a
10 year collection of cases. American Roentgen Ray Society (ARRS) 2010 electronic exhibit.

Gupta JD, Gupta ND, Palacios E Osler Weber Rendu: Diagnosis and Management. American
Roentgen Ray Society (ARRS) 2010 electronic exhibit.

Gupta JD, Gupta ND, Palacios E “Nontraumatic Retropharyngeal Abscess Complicated by
Cervical Discitis, Osteomyelitis and Epidural Abscess in Post-Katrina New Orleans: Diagnosis,
Imaging Characteristics, and Management Options.” American Society of Spine Radiology
(ASSR) 2010 electronic exhibit.
   Case 5:25-cv-00097-MTT            Document 1         Filed 03/11/25       Page 20 of 33



Gupta JD, Gupta ND, Palacios E, Rojas, R “Nontraumatic and Nonneoplastic Myelopathy: A
Comprehensive Review of Pathologic Processes, Clinical Correlates, and Imaging Findings over
a 15-Year Collection of Cases.” American Society of Neuroradiology (ASNR) 2010 electronic
exhibit.

Gupta JD, Gupta ND, Palacios E, Ward K “Nontraumatic and Nonneoplastic Myelopathy: A
Comprehensive Review of Pathologic Processes, Clinical Correlates, and Imaging Findings over
a 15-Year Collection of Cases.” Radiologic Society of North America (RSNA) 2010 poster
exhibit.

Gupta ND “Review of Elbow Pathology” Dr. Donald Resnick’s Internal Derangement Course
2012, 30 minute Oral presentation

Gupta ND “Anatomical Review of the Compartments of the Lower Extremity with Emphasis on
the Fascia: Correlatory Overview of Fascial Pathologic Processes” Dr. Resnick UCSD Radiology
Group 2012, 45 minute Oral presentation

Gupta ND, Gudmundsson M “Fascial Diseases: Review of Characteristic MRI Findings with
Emphasis on Using Imaging to Determine Etiology” Radiological Society of North America
(RSNA) 2012 conference paper

Bae Won C, Gupta Neel, Golnari P “Inside-out Theory of Cartilage Degeneration: Association of
Deep Layer UTE Morphologic Alteration with Quantitative MR properties of Human Articular
Cartilage” Radiological Society of North America (RSNA) 2012 conference paper

Ball J, Gupta JD, Gupta ND. “Where Did Your Voice Go? An anatomic and radiologic review of
unilateral vocal cord paralysis;” # E1173; American Roentgen Ray Society (ARRS) 2017
electronic exhibit.

Ball J, Gupta JD, Gupta ND. “What's Black and White and Hoarse All Over ? Unilateral Vocal
Cord Paralysis Cases Presented with an Anatomic and Radiologic Review;” eEdE#: eEdE-146;
American Society of Neuroradiology (ASNR) 2017 electronic exhibit.

Gupta JD, Ball J, Gupta ND. “Beyond Hoarseness and Cough: An Imaging Review of Vocal
Cord Paralysis through Cases;” XXI Symposium Neuroradiologicum, World Congress of
Neuroradiology electronic exhibit 2018

Gupta JD, Gupta ND, Ball J "Where did my voice go? Unilateral Vocal Cord Paralysis Cases
Presented with an Anatomic and Radiologic Review" American Society of Head and Neck
Radiology (ASHNR) 2018 electronic exhibit.

Gupta JD, Gupta ND, Ball J "A New Approach to Facial Fullness: Extensive Five Year
Institutional Review of Lesions of the Parotid Gland and Their Intimate Association with the
Facial Nerve." American Society of Head and Neck Radiology (ASHNR) 2018 electronic
exhibit.

Talwar R, Gupta N, Gupta J “The Silent Scream: A Case-Based Analysis of Vocal Cord
Paralysis” American Society of Head and Neck Radiology (ASHNR) 2021 electronic exhibit
   Case 5:25-cv-00097-MTT             Document 1         Filed 03/11/25       Page 21 of 33



Gupta N, Hua J “Anatomical Review of the Compartments of the Lower Extremity with
Emphasis on the Fascia: Correlatory Overview of Fascial Pathologic Processes” Society of
Skeletal Radiology (SSR) 2022 electronic exhibit

Rigsbee C, Pemberton E, Gupta ND, Gupta JD “Blast Off! Conus Medullaris and Cauda Equina,
The Next Generation and New Frontier: A Pictorial Review of a Collection of Cases Seen at Our
Institution Over the Past Five Years. Let The Journey Begin!” American Society of Spine
Radiology (ASSR) 2022 electronic exhibit

Rashad A, Do T, Gupta N, Gupta J “Bone Up on Esoteric Osseous Lesions of the Spine and
Skull Base: A Pictorial Review focusing on a collection of cases from three institutions over the
past 5 years” American Society of Spine Radiology (ASSR) 2022 electronic exhibit

Rashad A, Do T, Gupta N, Gupta J “Stones, Bones, Groans, and Psychiatric Overtones: A
Pictorial Review of Parathyroid Adenomas” American Society of Neuroradiology (ASNR) 2022
electronic exhibit

Van Dyke J, Gupta N, Gupta J “Imaging Characteristics of Neurologic Associated Movement
Disorders” American Society of Neuroradiology (ASNR) 2022 electronic exhibit

Kuchana Vishnupriya, Bisig Aaron, Jain Nishant, Gupta Neel, Nguyen Jeremy “Demystifying
Convolutional Neural Networks: A Primer for Radiology Residents” American Society of
Neuroradiology (ASNR) 2022 electronic exhibit

Albuck A, Gupta N “The Diagnostic Performance of Ultrasound and Computed Tomography in
Detecting Neck Lymph Metastasis: A Systematic Review and Analysis” American Thyroid
Association (ATA) 2022

Rangani P, Casey D, Rocco M, Murphy L, Gupta J, Mae Igi, Froom M, Gupta N “A New
Perspective to the Physical Exam: An Institutional Review of Selected Neurological Cases
Evaluated with Three-dimensional Printed Diffusion Tensor Images” American Society of
Functional Neuroradiology (ASFNR) 2022

Chamberlin Chaz BS, Rocco Mark MD, Gupta Jagan D MD, Gupta Neel D MD. RSNA Case
Collection, Diastematomyelia Type II with Tethered Cord. 2022.

Gupta ND: Musculoskeletal Ultrasound, Visiting Lecturer: Orthopedic Sports Medicine, Ochsner
Clinic, 01/2010

Gupta ND: Musculoskeletal Throwing Elbow Part 1, Visiting Lecturer: Tulane Health Sciences
Center, Department of Radiology, 08/08/2012

Gupta ND: Musculoskeletal Throwing Elbow and Rotator Cuff, Visiting Lecturer: LSU Health
Sciences Center Physical Medicine and Rehabilitation, 08/24/2012

Gupta ND: Introduction to Radiology: Imaging Modalities, Visiting Lecturer: Tulane University
Medical School, Anatomy Department, T1 Lecture, 09/21/2012

Gupta ND: Musculoskeletal Throwing Elbow Part 2, Visiting Lecturer: Tulane Health Sciences
Center, Department of Radiology, 09/27/2012
   Case 5:25-cv-00097-MTT            Document 1       Filed 03/11/25       Page 22 of 33



Gupta ND: Musculoskeletal Ultrasound, Visiting Lecturer: Ochsner Hospital and Clinic,
Department of Orthopedics, Sports Medicine Division, 9/27/2012

Gupta ND: Pathology of the Proximal Biceps Tendon: Biceps Pulley Lesions, Visiting Lecturer:
LSU Health Sciences Center Physical Medicine and Rehabilitation, 10/19/2012

Gupta ND: Musculoskeletal Ultrasound, Visiting Lecturer: Ochsner Hospital and Clinic,
Department of Orthopedics, Grand Rounds, 10/24/2012

Gupta ND: Pearls of CT, MR, PET/CT, Nuclear Medicine, and Interventional Radiology, Visiting
Lecturer: Tulane Health Sciences Center, Internal Medicine, 10/29/2012

Gupta ND: Musculoskeletal MR Imaging of the Rotator Cuff, Visiting Lecturer: Tulane Health
Sciences Center, Department of Radiology, 11/02/2012

Gupta ND: Imaging of the Biceps Tendon: Biceps Pulley, Visiting Lecturer: Ochsner Hospital
and Clinic, Department of Orthopedics, Sports Medicine Division, 12/13/2012

Gupta ND: Musculoskeletal Ultrasound of the Hip: Internal Snapping Hip Syndrome, Tulane
University, Department of Orthopedics, Sports Medicine Division, 12/20/2012

Gupta ND: Musculoskeletal MR Imaging of the Biceps Pulley, Visiting Lecturer: Tulane Health
Sciences Center, Department of Radiology, 1/04/2013

Gupta ND: Imaging of the Anterior Cruciate Ligament: Pathologic Processes, Visiting Lecturer,
Tulane University, Department of Orthopedics, Sports Medicine Division, 2/28/2013

Gupta ND: Advanced Imaging of the Wrist, Visiting Lecturer, LSU Health Sciences Center.
Physicial Medicine and Rehabilitation, 3/1/2013

Gupta ND: Imaging of the Carpal Bones with Emphasis on AVN of the Scaphoid, Visiting
Lecturer, Tulane University, Department of Orthopedics, Hand and Upper Extremity Division,
3/28/2013

Gupta ND: MRI Imaging of the Wrist, Visiting Lecturer, Tulane Health Sciences Center,
Department of Radiology, 3/28/2013

Gupta ND: Musculoskeletal Imaging of the Elbow: Anatomy with MRI Correlation, Visiting
Lecturer: Tulane Health Sciences Center, Department of Radiology, 08/05/2013

Gupta ND: Advanced Imaging of the Long Head Biceps Tendon: Biceps Pulley, Visiting
Lecturer: Ochsner Hospital and Clinic, Department of Orthopedics, Sports Medicine Division,
9/19/2013

Gupta ND: Multimodality Imaging of Knee Pain: Anatomy with MRI Correlation, Visiting
Lecturer: Tulane Health Sciences Center, Department of Radiology, 10/24/2013

Gupta ND: Pathologic Processes of the ACL with Additional Focus on Anterior Knee Pain:
Anatomy with MRI Correlation, Visiting Lecturer: LSU Health Sciences Center Physical
Medicine and Rehabilitation, 11/08/2013
   Case 5:25-cv-00097-MTT           Document 1        Filed 03/11/25      Page 23 of 33



Gupta ND: Advanced MRI Imaging of the Patellofemoral Joint, Visiting Lecturer: Tulane Health
Sciences Center, Department of Radiology, 1/22/2014

Gupta ND: Pathologic Processes of the ACL, Visiting Lecturer: Tulane Health Sciences Center,
Department of Radiology, 2/19/2014

Gupta ND: Musculoskeletal MRI Anatomy of the Elbow, Visiting Lecturer: Tulane Health
Sciences Center, Department of Radiology, 04/09/2014

Gupta ND: Musculoskeletal MR Imaging of the Glenohumeral Joint, Visiting Lecturer: Tulane
Health Sciences Center, Department of Radiology, 08/12/2014

Gupta ND: Tulane University Premedical Society, Guest Lecturer, Tulane University, 10/6/2014

Gupta ND: Musculoskeletal Imaging: “Hot Seat Case Conference,” Visiting Lecturer: Tulane
Health Sciences Center, Department of Radiology, 01/20/2015

Gupta ND: Musculoskeletal Imaging Part II: “Hot Seat Case Conference,” Visiting Lecturer:
Tulane Health Sciences Center, Department of Radiology, 04/16/2015

Gupta ND: Musculoskeletal Imaging of the Elbow: Visiting Lecturer: LSU Health Sciences
Center, Department of Radiology, 04/21/2015

Gupta ND: Multimodality Imaging of the Wrist, Visiting Lecturer, Tulane Health Sciences
Center. Department of Radiology, 6/2/2015

Gupta ND: Multimodality Imaging of the Knee: Anterior Knee Pain, Visiting Lecturer, Tulane
Health Sciences Center. Department of Radiology, 9/24/2015

Gupta ND: MRI Case Review of the Wrist Part 1, Visiting Lecturer, Tulane Health Sciences
Center. Department of Radiology, 10/4/2016

Gupta ND: MRI Case Review of the Wrist Part 2, Visiting Lecturer, Tulane Health Sciences
Center. Department of Radiology, 11/28/2016

Gupta ND: MRI Case Review of the Wrist Part 3, Visiting Lecturer, Tulane Health Sciences
Center. Department of Radiology, 1/11/2017

Gupta ND: MRI Case Review of the Wrist Part 4, Visiting Lecturer, Tulane Health Sciences
Center. Department of Radiology, 2/10/2017

Gupta ND: MRI Case Review of the Biceps Tendon, Visiting Lecturer, Tulane Health Sciences
Center. Department of Radiology, 3/29/2017

Gupta ND: MRI Review of the Knee: Focus on Pathology Within the Patellofemoral
Compartment, Visiting Lecturer, Tulane Health Sciences Center. Department of Radiology,
5/22/2017

Gupta ND: MRI MSK Board Review, Visiting Lecturer, Tulane Health Sciences Center.
Department of Radiology, 6/15/2017
    Case 5:25-cv-00097-MTT           Document 1        Filed 03/11/25       Page 24 of 33



Gupta ND, “Introduction to Clinical Radiology,” Visiting Lecturer, Tulane University, Minority
Association of Pre-Medical Students (MAPS), 4/25/2018


RESEARCH

•   Qualitative and Quantitative Analysis of the Deep Calcified Layer of Articular Cartilage at
    the Knee using 3T imaging and novel MR sequences, 07/2011-present. Dr. Christine Chung,
    (University of California at San Diego)
•   A Comparative Study: Anatomical Pathologic Reports vs. Radiologic Findings with
    Abdominal/GU Pathology, 06/2005-08/2005, Dr. Erich Lang (Tulane Radiology)
•   Honors Thesis: The Effect of HIV 1 Tat on NF-kB Dependent Promoters in Jurkat Cells,
    07/2001-05/2002 Dr. Om Prakash (Ochsner Hospital)



EXPERIENCE

•   Radiology Society of Louisiana (RSL)                                       10/2021- 5/2022
    Treasurer
    Radiology Society of Louisiana (RSL)                                       5/2022 - present
    (Secretary/Treasurer)

•   Alternate Councilor                                                        1/2022 - present
    American College of Radiology (ACR)

•   Clinical Assistant Professor                                             New Orleans, LA
    Tulane University Health Sciences Center                                  07/2012-present
    Department of Radiology

•   Adjunct Professor                                                        New Orleans, LA
    Tulane University                                                        08/2007-present
    Introduction to Clinical Medicine

•   ACR AMCLC Chapter Leadership                                               Washington DC
    Represented ACR chapter and formulated policy                              05/2009,05/2010

•   Visiting Musculoskeletal Radiology Fellow                           Ann Arbor, MI
    Musculoskeletal Ultrasound, University of Michigan, Jon Jacobson MD 03/2012-04/2012

ACTIVITIES

Post-Fellowship:
ABR Oral Board Preparation for Tulane and LSU Radiology Residents (2013-present)
University of Michigan Musculoskeletal Ultrasound Review Course 03/2013
American College of Radiology (ACR) Certification of Proficiency PET-CT (2013)
American College of Radiology (ACR) Breast Imaging Bootcamp and Tomosynthesis (2015)
ACR Amyvid (Florbetapir F 18 Injection) Reader Training Workshop (2013)
American Society of Spine Radiology 02/2014
Society of Skeletal Radiology 2012
   Case 5:25-cv-00097-MTT             Document 1    Filed 03/11/25     Page 25 of 33



Tulane University Neuroscience Career Week (Panel Member) (March 2015)
Society of Skeletal Radiology 03/2015
Fellowship:
International Skeletal Society 09/2011
Internal Derangements of the Joints 02/2012
Residency:
Tulane Radiology Chief Resident 12/2009-12/2010
American College of Radiology (ACR) RFS Membership Committee 2009-2010, 2010-2011
Radiology Society of Louisiana Resident and Fellow Section, President (2009-2010)
Tulane Radiology Representative for Tulane Resident Congress (April 2009-present) (Quality
Improvement Committee Chairman)
Tulane Radiology Education Committee 2010-2011
Radiology Interest Group (Department Liason)
Tri-State Spring Radiology Meeting (RSL) 05/2009, 06/2010
American Society of Neuroradiology Meeting 2009
American Society of Head and Neck Radiology Meeting 2009
American Society of Spine Radiology 02/2010
American Roentgen Ray Society 05/2010
Radiology Society of Louisiana Annual Fall Meeting 2007-2009
American College of Radiology Annual Meeting and Chapter Leadership Conference 2009, 2010
Medical School:
Orthopedic Surgical Interest Group, Founder, Co-President, 2004-present
Students Against Right Brain Atrophy (SARBA), Performance Representative, 2002-2004
Community Medicine Interest Group (CMIG), Class Representative 2002-2004
Sports Medicine Shadowing Program at Tulane Institute of Sports Medicine 2002-2004
Values in Medicine, Retreat Leader (2004), Organized retreat guest speaker (2005)
Radiologic Society of North America, Member, 2005-present

FOREIGN LANGUAGES

Proficient in Spanish, Hindi, and Punjabi

INTERESTS

Swimming, Aerobics, Tennis, Travel
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 26 of 33




                                                           D
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 27 of 33
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 28 of 33
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 29 of 33
Case 5:25-cv-00097-MTT   Document 1   Filed 03/11/25   Page 30 of 33
  Case 5:25-cv-00097-MTT          Document 1       Filed 03/11/25      Page 31 of 33
                                    (678) 313-4325
                              Singletoncm1@gmail.com



Chaundria Singleton RT (R)(CT)(MR)
              Imaging Technologist with 20 years of experience and currently certified in MRI
              and CT with the ARRT. Solid understanding of radiation and MRI principles
              and principles of technique to acquire quality clinical images. Demonstrates a
              high level of initiative and proficiency in the quality of work and patient safety
  Objective   and comfort.

 Experience 7/2015- 8/31/2022        Athens Technical College             Athens, GA.
              Adjunct MRI Instructor
                  ▪ Responsible for development of curriculum for an MRI program.
                  ▪ Didactic teaching responsibilities for students
                  ▪ Develop courses for Sectional Anatomy, Physics and Instrumentation, MRI
                      Safety and contrast media

              8/2005 – Present           C & C Imaging Services LLC         Stone Mtn., GA.
              Imaging Consultant/Trainer/MRI & CT Technologist
                 ▪ Perform routine, post-op and emergency Neuro, Spine, Body, Angiography,
                     Ortho MR & CT exams on neonate, pediatric, geriatric, and adult patients.
                 ▪ Perform exams alongside radiologist and able to interpret radiologist
                     protocol to fit patient diagnosis.
                 ▪ Assist with sedation and general anesthesia of patient in preparation for
                     exams.
                 ▪ Expert in IV placement in patients for contrast studies.
                 ▪ Train radiology staff in radiation and MR safety at state level and national
                     levels.
                 ▪ Optimize new imaging equipment for new protocols and train staff on proper
                     operation of scanner equipment.
                 ▪ ACR registration for outpatient imaging facilities.

              6/2008 – 9/2020          Piedmont Hospital                  Atlanta, GA.
              Float MRI & CT Technologist
                 ▪ Perform routine, post-op and emergency Neuro, Spine, Body, Angiography,
                     Ortho MR & CT exams on neonate, pediatric, geriatric, and adult patients.
                 ▪ Perform exams alongside radiologist and able to interpret radiologist
                     protocol to fit patient diagnosis
                 ▪ Assist with sedation and general anesthesia of patient in preparation for
                     general, post-surgery, diagnostic, exams
                 ▪ Expert in starting IV in patients for contrast studies
                 ▪ Liaison to radiologist for biopsy procedures in put patient and in patient
                     patients.
                 ▪ Prepared patients for radiologic exams by asking a series of safety
                     questions, checking chart for a medical history, completing a safety
                     screening forma and contrast injection form.
  Case 5:25-cv-00097-MTT        Document 1       Filed 03/11/25     Page 32 of 33
                                  (678) 313-4325
                            Singletoncm1@gmail.com



Chaundria Singleton RT (R)(CT)(MR)
            1/1/2012-12/1/2016    Center for Advanced Imaging          Atlanta, GA.
            PRN Research MRI Technologist
            ▪ Perform fMRI brain MRI exams on patient for research exams
            ▪ Work along with research physicians to coordinate and scan patients based on
              the research protocols.

            10/2007-01/2014       Rockdale Medical Center              Conyers, GA.
            MRI & CT Technologist
            ▪ Perform routine, post-op and emergency Neuro, Spine, Body, Angiography,
              Ortho MR & CT exams on neonate, pediatric, geriatric, and adult patients.
            ▪ Perform routine, emergency, breast MRI, angiography exams
            ▪ Perform advance IV placement on inpatient and outpatients

            2006-2011             South Fulton Medical Center          East Point, GA.
            CT/MR Technologist
            ▪ Responsible for performing quality and timely CT & MR scans
            ▪ Worked closely with radiologist on CT biopsy cases
            ▪ Advanced IV placement on in patients and out patients

            2003-2005             Georgia Urology                        Atlanta, GA.
            Manager of Radiology
            ▪ Developed imaging protocols for urological issues to plan for surgery, create a
              treatment plan and to follow up on prior diagnosis or post-op.
            ▪ Conducted yearly radiation safety classes for office staff.
            ▪ Performed CT scans for the body for interpretation by radiologist.
            ▪ Responsible for ordering imaging supplies for the continued operation of
              radiology department.
            ▪ Assisted urology practice in research studies post-surgery, cancer and more.

  Education 2000-2002             Emory Medical University             Atlanta, GA.
            Associates in Medical Science
            ▪ Most Outstanding Student Award

            01/2015                AQI/MTMI                           Las Vegas, NV
            Initial Mammography Training Course
            ▪ Digital Mammography National Training Course

            08/2017 - Present      Penn Foster College                 Online
            Bachelors in Business Management
    Case 5:25-cv-00097-MTT      Document 1      Filed 03/11/25   Page 33 of 33
                                   (678) 313-4325
                             Singletoncm1@gmail.com



Chaundria Singleton RT (R)(CT)(MR)

Certifications/
   Equipment ARRT-R, CT,MR
             CPR BLS
             MR Siemens 1.5T & 3T
             CT Siemens
             GE 1.5T
             CT GE
             Phillips 1.5T
             CT Philips 16 slice
             CT Toshiba



References   References are available on request.
